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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

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  UNITED STATES OF AMERICA                                : CASE NO. 5: 07 CR 00563
                                                          :
                                              Plaintiff   :
                                                          : MEMORANDUM OF OPINION AND
                          -vs-                            : ORDER DENYING SUPPRESSION
                                                          : MOTIONS FROM DEFENDANTS
                                                          : EDDIE GRANT AND TERRANCE
  ERVIN THOMAS, et al.,                                   : THOMAS
                                                          :
                                         Defendants       :
  -----------------------------------------------------   :

UNITED STATES DISTRICT JUDGE LESLEY WELLS


         On 7 November 2007, the government unsealed a nineteen count Indictment

against thirteen defendants, accused of possessing and conspiring to possess and

distribute cocaine in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C), 846, as well as

18 U.S.C. §§ 1952, 1956, & 2. (Docket No. 1). On 12 November 2008, in a

Memorandum and Order (“12 November Order”) this Court denied co-defendant Ervin

Thomas’ motion to suppress conversations intercepted pursuant to Title III wiretap

orders on five separate occasions: 30 May, 29 June, 20 July, 31 July, and 30 August

2007. (Doc. 223, 270).

         Pursuant to the 12 November Order, this Court first denied Ervin Thomas’

challenge that the affidavit evidence presented to the issuing Judge failed to support

probable cause sufficient to allow the belief that incriminating communications would be

intercepted. (Doc. 270, pp. 6-9). Second, this Court denied Ervin Thomas’ 18 U.S.C. §

2518(1)(c) challenge of the issuing Judge’s finding that the wiretap application
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established the “necessity” for the electronic surveillance. (Doc. 270, pp. 9-11). Finally,

this Court denied Ervin Thomas’ challenge to the government’s fidelity toward the

reporting and sealing requirements of Title III authorization orders. (Doc. 270, p. 2).

       Following this Court’s 12 November Order, Ervin Thomas’ co-defendants Eddie

Grant and Terrance Thomas filed separate, but substantially similar, motions to

suppress the wiretap evidence. (Docs. 276, 279). The government responded in

opposition (Doc. 281), and those motions are now before the Court for resolution.

       The motions to suppress by Eddie Grant and Terrance Thomas are not only

substantially similar to each other, but also tread the same ground as that covered

earlier by their co-defendant Ervin Thomas. As such, inasmuch as the motions by Eddie

Grant and Terrance Thomas stand on all fours with Ervin Thomas’ earlier challenge to

suppress the Title III wiretap conversations on grounds of “sufficient evidence,”

“necessity,” and “sealing obligations,” this Court does not find it necessary to replicate its

previous 12 November Order denying suppression.

       The only manner in which the current motions to suppress by Eddie Grant and

Terrance Thomas distinguish themselves from their co-defendant’s prior suppression

motion is in challenging the monitoring officers’ reasonable efforts to minimize capturing

conversations outside the ambit of the investigation. Accordingly, the Court will address

the substance of Eddie Grant’s and Terrance Thomas’ challenge to the “minimization”

requirements of 18 U.S.C. 2518.

       Pursuant to 18 U.S.C. 2518(5), “[e]very order and extension thereof . . . shall be

conducted in such a way as to minimize the interception of communications not

otherwise subject to interception under this chapter.” Minimization requires an objective

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assessment by the monitoring officer of the reasonableness of the interception in light of

the purpose of the wiretap and the totality of the circumstances of each case. See Scott

v. United States, 436 U.S. 128, 130 (1978).

         In assessing minimization, Courts look to the objective reasonableness of the

interceptor’s conduct, observing “[t]he statute does not forbid the interception of all non-

relevant conversations, but rather instructs the agents to conduct the surveillance in

such a manner as to ‘minimize’ the interception of such conversations.” Scott, 436 U.S.

128, 140. In evaluating the application of 18 U.S.C. 2518(5), Courts consider the nature

and complexity of the suspected crimes under surveillance, the thoroughness of the

government precautions to effect minimization, and the degree of judicial supervision

over the surveillance practices. See United States v. Uribe, 890 F.2d 554, 557 (1st Cir.

1989).

         Further, numerous courts have allowed broad latitude to interceptors where, as

here, the investigation involved an interstate drug conspiracy communicating in code,

where the wiretap not only serves to “incriminate the known person whose phone is

tapped, [but] to learn the identity of the far-flung conspirators and to delineate the

contours of the conspiracy.” United States v. Quintana, 508 F.2d 867, 874 (7th Cir.

1975). See also United States v. Macklin, 902 F.2d 1320, 1328 (8th Cir. 1990)

(permitting as reasonable a more far-reaching wiretap where conversations are in the

jargon of the drug trade).

         To establish a violation of minimization requirements, the Sixth Circuit looks for a

movant to show a “pattern of interception of innocent conversations which develop over

the period of the wiretap.” United States v. Lawson, 780 F.2d 535, 540 (6th Cir. 1985)

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(finding no “prima facie pattern” of interception); see also United States v. Licavoli, 456

F. Supp. 960, 966 (N.D. Ohio 1978). In United States v. Giacolone, 853 F.2d 470 (6th

Cir.) cert. denied, 488 U.S. 910 (1988), this Circuit determined that a defendant

challenging the minimization requirements make an initial showing of contested facts to

be entitled to an evidentiary hearing. Id. at 482.

       Like the defendants in Giacolone, neither Eddie Grant nor Terrance Thomas

provide specific examples of conversations which should not have been monitored.

Neither defendant sets out, as each must under the law of this Circuit, a pattern of

conversations establishing an abuse of the minimization requirements. Without these

threshold showings the motions to suppress on the basis of the minimization

requirements enunciated in 18 U.S.C. 2518(5) fail.

       For the reasons discussed above, and predicated on this Court’s 12 November

2008 Order (Doc. 270), this Court denies Eddie Grant’s and Terrance Thomas’ separate

motions to suppress the conversations intercepted pursuant to the Title III wiretap

orders of 30 May, 29 June, 20 July, 31 July, and 30 August 2007. The Court further

denies Eddie Grant’s and Terrance Thomas’ motion to suppress any and all evidence

derived from those conversations.



       IT IS SO ORDERED.



                                            /s/Lesley Wells
                                           UNITED STATES DISTRICT JUDGE




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